        Case 2:17-cv-01667-KJN Document 81 Filed 03/19/19 Page 1 of 2

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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    BEAU BANGERT,                                    No. 2:17-cv-1667 KJN P
12                       Plaintiff,
13              v.                                     ORDER
14    COUNTY OF PLACER, et al.,
15                       Defendants.
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17          An informal telephonic discovery conference was held on March 15, 2019. Mark Merin

18   and Patrick Dwyer appeared for plaintiffs. Julia Reeves, Deputy County Counsel, appeared for

19   defendants. The Court and counsel discussed the case by phone. Good cause appearing, THE

20   COURT FINDS AND ORDERS AS FOLLOWS:

21          1. All claims under $50,000 which have been found by plaintiffs’ counsel to be

22   compensable, as identified on the list previously provided to counsel for the County, will be

23   accepted (and proportionally reduced, if the amount exceeds the amount available to be

24   distributed under the settlement agreement) with the following exceptions:

25          --Claims that were not filed under penalty of perjury

26          --Claims which allege an incident which occurred outside of a Placer County Correctional

27   Facility

28          --Claims which do not allege any incident of force or retaliation by Correctional staff
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         Case 2:17-cv-01667-KJN Document 81 Filed 03/19/19 Page 2 of 2

 1            --Claims which are clearly fraudulent

 2            2. Counsel for the County will provide class counsel with a list of claims which were not

 3   filed under penalty of perjury, which allege incidents which occurred outside of a Placer County

 4   Correctional Facility, which do not allege any incident of force or retaliation by Correctional

 5   staff, or which are clearly fraudulent by Friday, March 22, 2019.

 6            3. For claims under $50,000 which were not filed under penalty of perjury, the claimants

 7   will be contacted by class counsel and provided with a one-time opportunity to sign his or her

 8   claim under penalty of perjury within 30 days of class counsel contacting them.

 9            4. Counsel will have 30 days to meet and confer regarding the list provided by counsel

10   for the County. In the event that agreement cannot be reached within the meet and confer period,

11   counsel will request a telephonic discovery conference with the court to discuss the process for

12   addressing any disputed claims with the court.

13            5. For claims of $50,000 or $100,000 which have been found by plaintiffs’ counsel to be

14   compensable, as identified on the list provided to counsel for the County, class counsel together

15   with the claims administrator will request substantiation of medical records from the claimants to

16   occur within 30 days. Following receipt of medical information, counsel for the County and class

17   counsel will meet and confer on the claims. In the event that agreement cannot be reached within

18   the meet and confer period, counsel will request a telephonic discovery conference with the court

19   to discuss the process for addressing any disputed claims with the court.

20            6. Class counsel will formally file the Motion for Final Approval.
21            7. In the event of any disputes regarding use of force set forth in the quarterly audits,

22   counsel will meet and confer with regard to the uses of force but is not required to bring those

23   issues to the attention of the court until 30 days prior to the termination of the Reporting Period

24   (as that term is defined in the settlement agreement).

25   Dated: March 19, 2019

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